                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


 ERIC RAMON BUCHANAN,
                                                  Case No. 2:25-cv-00113-AKB
                       Plaintiff,
                                                  ORDER OF DISMISSAL OF CIVIL
 vs.                                              RIGHTS CLAIMS

 LAMONT C. BERECZ, et al.,

                       Defendants.




       On March 13, 2025, the Court ordered Plaintiff Eric Ramon Buchanan to file an amended

complaint within twenty-one days to present his civil rights claims that remained after remand of

the portion of this case that attempted to remove a pending state criminal action from the First

Judicial District Court, Kootenai County. (Dkt. 5). The deadline for filing an amended complaint

has passed, and Plaintiff has filed nothing further indicating that he desires to proceed.

Accordingly, IT IS ORDERED that the remainder of this case is DISMISSED without prejudice.



                                                    DATED: May 21, 2025


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                                                    Amanda K. Brailsford
                                                    U.S. District Court Judge




ORDER OF DISMISSAL OF CIVIL RIGHTS CLAIMS - 1
